Case 9:12-cr-80054-RLR Document 83 Entered on FLSD Docket 05/30/2012 Page 1 of 2



                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 12-80054-CR-ZLOCH


  UNITED STATES OF AMERICA,

               Plaintiff,

  vs.                                                       O R D E R

  BRENDA CHARLESTAIN,

               Defendant.
                                       /

        THIS    MATTER   is   before       the    Court   upon   the   Report   and

  Recommendation (DE 63) filed herein by United States Magistrate

  Judge Robin S. Rosenbaum, Defendant Brenda Charlestain’s Motion To

  Dismiss Indictment Based On Misconduct Of Law Enforcement (DE 47),

  and Defendant’s Objection To Magistrate’s Report And Recommendation

  That The District Court Deny The Defendant’s Motion To Dismiss The

  Indictment Based Upon Misconduct Of Law Enforcement And Or Suppress

  Defendant’s Statements At Made At The Time Of The Stop (DE 78).

  The Court has conducted a de novo review of the entire record

  herein and is otherwise fully advised in the premises.

        Accordingly, after due consideration, it is

        ORDERED AND ADJUDGED as follows:

        1.     Defendant’s    Objection          To   Magistrate’s     Report   And

  Recommendation That The District Court Deny The Defendant’s Motion

  To Dismiss The Indictment Based Upon Misconduct Of Law Enforcement

  And Or Suppress Defendant’s Statements At Made At The Time Of The

  Stop (DE 78) be and the same is hereby OVERRULED;
Case 9:12-cr-80054-RLR Document 83 Entered on FLSD Docket 05/30/2012 Page 2 of 2



       2. The Report and Recommendation (DE 63) filed herein by

  United States Magistrate Judge Robin S. Rosenbaum be and the same

  is hereby approved, adopted and ratified by the Court; and

       3. Defendant Brenda Charlestain’s Motion To Dismiss Indictment

  Based On Misconduct Of Law Enforcement (DE 47) be and the same is

  hereby DENIED.

       DONE AND ORDERED in Chambers at Fort Lauderdale, Broward

  County, Florida, this       30th         day of May, 2012.




                                     WILLIAM J. ZLOCH
                                     United States District Judge

  Copies furnished:

  The Honorable Robin S. Rosenbaum
  United States Magistrate Judge

  All Counsel of Record




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